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         UNITED STATES DEPARTMENT OF AGRICULTURE

            BEFORE THE SECRETARY OF AGRICULTURE
In re:                                          )
                                                )     AWA Docket No. D-07-0050
         James B. Garretson                     )
                                                )
                Petitioner                      )     Decision and Order


1. The Petitioner James B. Garretson represents himself (appears pro se) in this

appeal, filed in January 2007, of the denial on November 27, 2006, of his

application for an Animal Welfare Act license. See 9 C.F.R. § 2.11. The

Respondent, the Administrator of the Animal and Plant Health Inspection Service,

United States Department of Agriculture (“APHIS”), is represented by Colleen A.

Carroll, Esq.

2. APHIS’s Motion for Summary Judgment, filed November 1, 2007, which

Petitioner James B. Garretson did not oppose, is GRANTED.

                                  Findings of Fact

3. The Secretary of Agriculture revoked the privilege of the Petitioner James B.

Garretson, also known as James Brandon Garretson, to engage in activities that

require an Animal Welfare Act license. See Decision and Order issued March 22,

2007 in AWA Docket No. 04-A032, slip opinion at 2, 44-45, decided at the

administrative law judge level and not appealed, In re James B. Garretson, et al., 66

Agric. Dec. ____ (2007).




                                                                          Exhibit 6
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4. The Secretary of Agriculture permanently disqualified the Petitioner James B.

Garretson, also known as James Brandon Garretson, from obtaining, holding, or

using any Animal Welfare Act license or from otherwise obtaining, holding, or using

an Animal Welfare Act license, directly or indirectly, or through any corporate or

other device or person. See Decision and Order issued March 22, 2007 in AWA

Docket No. 04-A032, slip opinion at 2, 44-45, decided at the administrative law

judge level and not appealed, In re James B. Garretson, et al., 66 Agric. Dec. ____

(2007).

5. While an applicant for an initial Animal Welfare Act license, the Petitioner James

B. Garretson, also known as James Brandon Garretson, threatened, verbally

abused, and harassed Dr. Gaj, an official of the Animal and Plant Health Inspection

Service (APHIS official) in the course of carrying out his duties, on June 25, 2004, at

Lake City, Florida, in willful 1 violation of section 2.4 of the Regulations (9 C.F.R. §

2.4). The Petitioner James B. Garretson, also known as James Brandon Garretson,

had a pattern of threatening, verbally abusing, and harassing APHIS officials in the

course of carrying out their duties. See Decision and Order issued March 22, 2007

in AWA Docket No. 04-A032, slip opinion at 2, 44-45, decided at the administrative

law judge level and not appealed, In re James B. Garretson, et al., 66 Agric. Dec.

____ (2007).




  1
     The term “willful” used here includes such gross neglect of a known duty as to be the equivalent
of an intentional misdeed.



                                                                                       Exhibit 6
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                                     Conclusions

6. No genuine issues of material fact exist, and APHIS is entitled to judgment as a

matter of law.

7. The Petitioner James B. Garretson, also known as James Brandon Garretson, is

barred from obtaining an Animal Welfare Act license. Consequently, he cannot

prevail on his Petition herein.

8. APHIS’s denial on November 27, 2006, of the application for an Animal Welfare

Act license by the Petitioner James B. Garretson, also known as James Brandon

Garretson, must be and hereby is upheld.

                                         Order

9. The Petitioner James B. Garretson, also known as James Brandon Garretson,

and his agents and employees, successors and assigns, directly or through any

corporate or other device, shall cease and desist from engaging in any activity for

which a license is required under the Animal Welfare Act or the Regulations.

10. The Petitioner James B. Garretson, also known as James Brandon Garretson,

and his agents and employees, successors and assigns, directly or indirectly, or

through any corporate or other device or person, shall cease and desist from

violating the Animal Welfare Act and the Regulations and Standards issued

thereunder.

                                        Finality

11. This Decision and Order shall be final without further proceedings 35 days after

service unless an appeal to the Judicial Officer is filed with the Hearing Clerk within

30 days after service, pursuant to section 1.145 of the Rules of Practice (7 C.F.R. §



                                                                            Exhibit 6
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1.145, see enclosed Appendix A).

       Copies of this Decision and Order shall be served by the Hearing Clerk upon

each of the parties.

                                   Done at Washington, D.C.
                                   this 28th day of December 2007



                                   Jill S. Clifton
                                   Administrative Law Judge




                                                           Hearing Clerk’s Office
                                                           U.S. Department of Agriculture
                                                           1400 Independence Avenue, SW
                                                           Room 1031, South Building
                                                           Washington, D.C. 20250-9203
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                                                                              Exhibit 6
